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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                                                                     8:15CR134
                      Plaintiff,

       vs.                                                  PRELIMINARY ORDER OF
                                                                 FORFEITURE
JULIAN ANACLETO
MANJARREZ-SANCHEZ and
JUAN MANJARREZ-SANCHEZ,

                      Defendants.



       This matter comes on before the Court upon the United States= Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 90). The Court reviews the record in this case and,

being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements (Filing Nos. 77 and 79), whereby

they have agreed to enter pleas of guilty to Count I and the Forfeiture Allegation of said

Indictment. Count I charged the Defendants with conspiracy to distribute methamphetamine, in

violation of 21 U.S.C. ' 846. The Forfeiture Allegation charged the Defendants with using

$16,856.00 in United States currency to facilitate the commission of the conspiracy and/or was

derived from proceeds obtained directly or indirectly as a result of the commission of the

conspiracy.

       2. By virtue of said plea of guilty, the Defendants forfeit their interests in the subject

currency, and the United States should be entitled to possession of said currency, pursuant to

21 U.S.C. ' 853.



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        3. The United States= Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

        A. The United States= Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

        B. Based upon the Forfeiture Allegation of the Indictment and the Defendants= pleas of

guilty, the United States is hereby authorized to seize the $16,856.00 in United States currency.

        C. The Defendants= interests in the $16,856.00 in United States currency are hereby

forfeited to the United States for disposition in accordance with the law, subject to the provisions

of 21 U.S.C. ' 853(n)(1).

        D. The aforementioned currency is to be held by the United States in its secure custody and

control.

        E. Pursuant to 21 U.S.C. ' 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official internet government forfeiture site, www.forfeiture.gov,

notice of this Order, Notice of Publication evidencing the United States= intent to dispose of the

currency in such manner as the Attorney General may direct, and notice that any person, other than

the Defendants, having or claiming a legal interest in any of the subject currency must file a

Petition with the court within thirty days of the final publication of notice or of receipt of actual

notice, whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E, above, shall be

for a hearing to adjudicate the validity of the Petitioner=s interest in the currency, shall be signed by

the Petitioner under penalty of perjury, and shall set forth the nature and extent of the Petitioner=s



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right, title or interest in the subject currency and any additional facts supporting the Petitioner=s

claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written notice to

any person known to have an interest in the currency subject to this Order as a substitute for

published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. ' 853(n), in which all interests will be addressed.

       ORDERED this 20th day of November, 2015.


                                                        BY THE COURT:



                                                           s/ Joseph F. Bataillon
                                                        JOSEPH F. BATAILLON
                                                        Senior United States District Judge




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